














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-209-CV



IN THE INTEREST OF J.B.R., A CHILD



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FROM THE 322
ND
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellants’ Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellants
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL B: &nbsp;LIVINGSTON, WALKER, and MCCOY, JJ.



DELIVERED: &nbsp;June 5, 2008

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




